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From: Edward.J.Merrens@hitchcock.org [Edward.J.Merrens@hitchcock.org]
Sent: 5/12/2017 2:19:15 PM Sunnie Donath, APR, LCR
To: Victoria B. Maxfield [Victoria.B.Maxfield@hitchcock.org] —
Subject: Re: Ob/Gyn Department

Victoria,

Thanks for your email. The recommendations around closing the program and its staff were at the recommendation of
Dr. Demars. As you know Dr. Porter currently works at 20% of her time currently and I'm not sure of her interest in
staying on if the infertility part were to cease. I'm clearly aware how difficult this is for patients and staff, | have been
answering emails all week, heartfelt concerned and sad at this transition. | completely understand.

Sincerely,

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Edward J. Merrens, MD, MS

Chief Clinical Officer | Dartmouth-Hitchcock

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On May 12, 2017, at 1:20 PM, Victoria B. Maxfield <Victoria.B. Maxfield @hitchcock.org> wrote:

Dear Dr.Merrens,

Thank-you for taking the time and explaining the recent closing of the REI division. | know this was not an easy decision
to make, was not made hastily, and had to be done at this time. Unfortunately employee jobs had to be laid off and the
one that was most disturbing to hear was Dr. Misty Blanchette Porter.

i have been employed here in the OB/GYN clinic up to 18 years and the past 8 years being the Nurse Coordinator for
Uro/GYN and Charge Nurse. | have known Dr. Porter for the past 18 years but during the past 5 to 6 years | have also
been her gyn surgical nurse taking care of all her post op patients due to staffing issues in REI. Working with Dr. Porter
was an honor. She always expressed appreciation for assisting her in the care of her patients. Her expertise

in gynecologic ultrasounds, myomectomies, hysteroscopy, and gyn surgeries provide a level of care to women that is
not available from other members of the Gynecology staff. She also provides reproductive endocrinology expertise
separate from infertility, Dr. Porter has been part of us for over 20 years and her skills in RE] and GYN will be missed.

Our department is short staffed already with GYN MD’s and my own Uro/Gyn division has worked understaffed for over
a year. We fortunately are in the interviewing process now.

| do hope there is a way we could still keep Dr. Porter as a non-infertility REI specialist, GYN surgeon and expert
in gynecologic imaging. Her expertise and skills are greatly needed!

Again, thank-you for addressing our department.

Best,
Vicki Maxfield

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<image001jpg>
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Nurse Coordinator
Division of Female Pelvic Medicine and Reconstructive Surgery
Department of Obstetrics and Gynecology
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